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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:16-CR-19-6
                                                  §
                                                  §
 LAUREN LEIGH COURMIER                            §

           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On July 6, 2016, this case came before the undersigned magistrate judge for entry of a guilty

 plea by the Defendant, Lauren Leigh Courmier, to Count One of the First Superseding Indictment.

 Count One alleges that from on or about September 20, 2015, the exact date being unknown to the

 Grand Jury, and continuing thereafter until on or about February 26, 2016, in the Eastern District of

 Texas and elsewhere, Lauren Leigh Courmier, the Defendant, did knowingly and intentionally

 combine, conspire, confederate and agree with persons known and unknown to the Grand Jury to

 distribute and possess with intent to distribute a Schedule II controlled substance, to wit: 50 grams

 or more of methamphetamine “actual” in violation of 21 U.S.C. § 841(a)(1), all in violation of 21

 U.S.C. § 846.




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        The Defendant entered a plea of guilty to Count One of the First Superseding Indictment into

 the record at the hearing. After conducting the proceeding in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11, the undersigned finds:

        a.      That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

        b.      That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that she understood the terms of the plea agreement, agreed with the

 Government’s summary of the plea agreement, and acknowledged that it was her signature on the

 plea agreement. To the extent the plea agreement contains recommendations and requests pursuant

 to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the Defendant that she has no right to withdraw

 the plea if the court does not follow the particular recommendations or requests. To the extent that

 any or all of the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned

 advised the Defendant that she will have the opportunity to withdraw her plea of guilty should the




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 court not follow those particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

          d.        That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 her conduct falls within the definition of the crime charged under 21 U.S.C. § 846.

                                           STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

 the same person charged in the First Superseding Indictment and that the events described in the First

 Superseding Indictment occurred in the Eastern District of Texas. The Government would also have

 proven, beyond a reasonable doubt, each and every essential element of the offense as alleged in



 1
  “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
 the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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 Count One of the First Superseding Indictment through the testimony of witnesses, including expert

 witnesses, and admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates

 the proffer of evidence described in detail in the factual basis and stipulation filed in support of the

 plea agreement, and the Defendant’s admissions made in open court in response to the undersigned’s

 further inquiry into the factual basis and stipulation.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that she was entering the guilty plea knowingly, freely

 and voluntarily.

                                RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the First Superseding Indictment. Accordingly, it

 is further recommended that the District Court finally adjudge the Defendant, Lauren Leigh

 Courmier, guilty of the charged offense under 21 U.S.C. § 846.

         The District Court should defer its decision to accept or reject the plea agreement until there

 has been an opportunity to review the presentence report. If the plea agreement is rejected and the

 Defendant still persists in his guilty plea, the disposition of the case may be less favorable to the

 Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to the

 United States Probation Department for the preparation of a presentence report. The Defendant has

 the right to allocute before the District Court before imposition of sentence.


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                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report, and (4) no more than eight

 (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule CV-

 72(c). A party who objects to this report is entitled to a de novo determination by the United States

 District Judge of those proposed findings and recommendations to which a specific objection is

 timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



         SIGNED this 7th day of July, 2016.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




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